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Placard 4: (1) spent brass "CBC 9mm +P" casing | | Placard 7: (1) spent brass "FC 9mm Luger" casing
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(aarankin@dmgoy.o'g) GOVERNMENT
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